
PER CURIAM.
Commercial Bank’s motion to dismiss the appeal as to it is granted on the authority of Ala.Code 1975, § 12-22-2; Rule 5, A.R. App.P. The judgment as to First Alabama Bancshares, Inc., is affirmed on the authority of Whatley v. Cardinal Pest Control, 388 So.2d 529 (Ala.1980).
APPEAL DISMISSED AS TO COMMERCIAL BANK.
JUDGMENT AFFIRMED AS TO FIRST ALABAMA BANCSHARES, INC.
HORNSBY, C.J., and MADDOX, JONES, SHORES and KENNEDY, JJ., concur.
